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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PHILIP J. TAVERNA,                           :
     Plaintiff,                              :
                                             :
       v.                                    :       Case No. 5:20-cv-0812-JDW
                                             :
PALMER TOWNSHIP, et al.,                     :
    Defendants.                              :

                                            ORDER

       AND NOW, this 30th day of December, 2020, for the reasons stated in the accompanying

Memorandum, it is ORDERED as follows:

       1.       The Motion For Judgment On The Pleadings Pursuant To Fed. R. Civ. P. 12(c)

Filed On Behalf Of Defendant, Palmer Township (ECF No. 48), which the Court has treated as a

summary judgment motion pursuant to its Order dated September 29, 2020 (ECF No. 50) is

GRANTED;

       2.       Defendant Tuskes Homes, Inc.’s Motion For Summary Judgment Against

Plaintiff’s Complaint Pursuant To Federal Rule Of Civil Procedure 56 (ECF No. 56) is

GRANTED;

       3.       Plaintiff Philip Taverna’s Motion For To Amend Complaint [sic] (ECF No. 62) and

Petition To Amend (ECF No. 63) are DENIED; and

       4.       The Motion To Dismiss Cross-Claim Of Defendant, Tuskes Homes Inc., Pursuant

To Fed. R. Civ. P. 12(b)(6) Filed On Behalf Of Defendant, Palmer Township (ECF No. 54) is

DENIED as MOOT.

       The Clerk of Court shall mark this case closed for statistical purposes.
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                           BY THE COURT:


                           /s/ Joshua D. Wolson
                           JOSHUA D. WOLSON, J.
